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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


KAREN E CROFT,

      Plaintiff,
v.                                                    CASE NO. 1:05-cv-00015-MP-AK

JO ANNE BARNHART,

     Defendant.
___________________________/

                                      ORDER

      This matter is before the Court on Plaintiff’s Motion to Extend Time to 5/31/05 to

File Memorandum in Support of Petition. (Doc. 16). Having considered said motion,

which is unopposed, the Court is of the opinion that it should be GRANTED, and that

Plaintiff shall have through May 31, 2005, to file her memorandum.

      DONE AND ORDERED at Gainesville, Florida, this 10th          day of May, 2005.



                                        s/ A. KORNBLUM
                                        ALLAN KORNBLUM
                                        UNITED STATES MAGISTRATE JUDGE
